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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X                      11/5/2020


JEFFREY GEFFNER,

                                            Plaintiff,                  20-CV-1171 (ALC)(SN)

                          -against-                                  DISCOVERY CONFERENCE
                                                                            ORDER
FOURKANE IRKI, et al.,

                                            Defendants.

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SARAH NETBURN, United States Magistrate Judge:

        A discovery conference to discuss the issues raised by the parties in their joint status

letter filed on November 4, 2020, is scheduled for Monday, November 16, 2020, at 10:30 a.m. At

that time, the parties shall call (877) 402-9757 and enter access code 7938632 #.

SO ORDERED.




DATED:           November 5, 2020
                 New York, New York
